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 4
 5   Attorneys for Plaintiff
 6
 7                         UNITED STATES DISTRICT COURT

 8                FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                                  '18CV0117 MMA BLM
                                                      CASE NO.: ACY

11         Plaintiff,
                                                      COMPLAINT ON PROMISSORY
12   vs.                                              NOTES

13   PATRICIA ANN WINN,
14          Defendant.
15

16                                       FIRST CLAIM
17         For its claim, Plaintiff, acting on behalf of the DEPARTMENT OF
18   EDUCATION alleges as follows:
19         1.     This court has jurisdiction under Title 20 U.S.C. § 1080, and the

20                defendant resides in the County of San Diego.

21         2.     In consideration of a student loan, Defendant executed a promissory

22                note, a copy which is attached hereto as Exhibit 1 on the date set forth

23                on said note.
24         3.     Said note and all rights to the obligation undertaken therein were

25                thereafter assigned to Plaintiff.
26         4.     Defendant has defaulted in the payment of the obligation due under

27                said note according to the terms and has paid no part thereof.

28         5.     Defendant owes to Plaintiff after applying all payments and proper

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                 credits the amounts hereinafter prayed for.
 2                                    SECOND CLAIM
 3        For its claim, Plaintiff, acting on behalf of the DEPARTMENT OF
 4   EDUCATION alleges as follows:
 5        6.     This court has jurisdiction under Title 20 U.S.C. § 1080, and the
 6               defendant resides in the County of San Diego.
 7        7.     In consideration of a student loan, Defendant executed a promissory
 8               note, a copy which is attached hereto as Exhibit 2 on the date set forth
 9               on said note.
1O        8.     Said note and all rights to the obligation undertaken therein were
11               thereafter assigned to Plaintiff.
12        9.     Defendant has defaulted in the payment of the obligation due under
13               said note according to the terms and has paid no part thereof.
14        10.    Defendant owes to Plaintiff after applying all payments and proper
15               credits the amounts hereinafter prayed for.
16                                      THIRD CLAIM
17               For its claim, Plaintiff, acting on behalf of the DEPARTMENT OF
18   EDUCATION alleges as follows:
19        11.    This court has jurisdiction under Title 20 U.S.C. § 1080, and the
20               defendant resides in the County of San Diego.
21        12.    In consideration of a student loan, Defendant executed a promissory
22               note, a copy which is attached hereto as Exhibit 3 on the date set forth

23               on said note.
24        13 .   Said note and all rights to the obligation undertaken therein were
25               thereafter assigned to Plaintiff.
26        14.    Defendant has defaulted in the payment of the obligation due under
27               said note according to the terms and has paid no part thereof.
28        15.    Defendant owes to Plaintiff after applying all payments and proper

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 1                credits the amounts hereinafter prayed for.
 2                                      FORTH CLAIM
 3                For its claim, Plaintiff, acting on behalf of the DEPARTMENT OF
 4   EDUCATION alleges as follows:
 5         16.    This court has jurisdiction under Title 20 U.S.C. § 1080, and the
 6                defendant resides in the County of San Diego.
 7         17.    In consideration of a student loan, Defendant executed a promissory
 8                note, a copy which is attached hereto as Exhibit 4 on the date set forth
 9                on said note.
10         18.    Said note and all rights to the obligation undertaken therein were
11                thereafter assigned to Plaintiff.
12         19.    Defendant has defaulted in the payment of the obligation due under
13                said note according to the terms and has paid no part thereof.
14         20.    Defendant owes to Plaintiff after applying all payments and proper
15                credits the amounts hereinafter prayed for.
16         WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
17         1.     As to Plaintiffs First Claim:
18         The principal amount of$2,663.84 plus interest accrued to January 11, 2018
19   in the sum of $5,945 .24 with interest accruing thereafter at 8.000% per annum until
20   entry of judgment; with interest thereafter at the legal rate, plus administration
21   charges of $0.00.
22         2.     As to Plaintiffs Second Claim:
23         The principal amount of $2,658.36 plus interest accrued to January 11, 2018
24   in the sum of $5,938.89 with interest accruing thereafter at 8.000% per annum until
25   entry of judgment; with interest thereafter at the legal rate, plus administration
26   charges of $0.00.
27         3.     As to Plaintiffs Third Claim:
28         The principal amount of $2,708.05 plus interest accrued to January 11, 2018

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 1   in the sum of $6,934.25 with interest accruing thereafter at 9.000% per annum
 2 until entry of judgment; with interest thereafter at the legal rate, plus

 3   administration charges of $0.00.
 4        4.     As to Plaintiffs Forth Claim:
 5         The principal amount of $800.00 plus interest accrued to January 11, 2018
 6   in the sum of $1,185.97 with interest accruing thereafter at 5.000% per annum
 7   until entry of judgment; with interest thereafter at the legal rate, plus
 8   administration charges of $0.00.
 9         5.     And upon all claims:
10                A.     For cost incurred,
11                B.     Reasonable attorney's fees.
12                C.     For such other and further relief as to the Court seems just.
13   DATED: January 11 , 2018                 IRSFELD, IRSFELD & YOUNGER LLP


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                                                          Kathryn E. Van Houten
16                                                        Attorneys for Plaintiff

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